            Case: 21-1121 Document:
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                                                         Filed 02/08/21




                                    Case No. 21-1121/21-1123

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                            ORDER



 In re: MELVIN JONES, JR.

                 Petitioner



    The court having determined that consolidation of the above causes for the purpose of

 submission is appropriate,

    It is ORDERED that the causes be and they hereby are consolidated for the purpose

 stated above.

                                                 ENTERED PURSUANT TO RULE 45(a),
                                                 RULES OF THE SIXTH CIRCUIT
                                                 Deborah S. Hunt, Clerk


  Issued: February 08, 2021
                                                 ___________________________________
            Case: 21-1121 Document:
Case 5:16-cv-10444-JEL-EAS          11-2 PageID.54905
                           ECF No. 1419,   Filed: 02/08/2021    Page: 1 Page 2 of 2 (2 of 2)
                                                         Filed 02/08/21




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                  Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988                www.ca6.uscourts.gov




                                                  Filed: February 08, 2021




 Melvin Jones Jr.
 1935 Hosler Street
 Flint, MI 48503

                      Re: Case No. 21-1121/21-1123, In re: Melvin Jones, Jr.
                          Originating Case No. : 5:16-cv-10444

 Dear Mr. Jones,

    The Court issued the enclosed Order today in this case.

                                                  Sincerely yours,

                                                  s/Jill E Colyer
                                                  Case Manager
                                                  Direct Dial No. 513-564-7024

 cc: Ms. Kinikia D. Essix

 Enclosure
